Case 2:95-cr-00104-LH   Document 372   Filed 07/27/01   Page 1 of 8
Case 2:95-cr-00104-LH   Document 372   Filed 07/27/01   Page 2 of 8
Case 2:95-cr-00104-LH   Document 372   Filed 07/27/01   Page 3 of 8
Case 2:95-cr-00104-LH   Document 372   Filed 07/27/01   Page 4 of 8
Case 2:95-cr-00104-LH   Document 372   Filed 07/27/01   Page 5 of 8
Case 2:95-cr-00104-LH   Document 372   Filed 07/27/01   Page 6 of 8
Case 2:95-cr-00104-LH   Document 372   Filed 07/27/01   Page 7 of 8
Case 2:95-cr-00104-LH   Document 372   Filed 07/27/01   Page 8 of 8
